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              EXHIBIT 4
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 RÜMEYSA ÖZTÜRK,
                                 Petitioner,
     v.                                                     Civil Action No. 1:25-cv-10695-DJC

 DONALD J. TRUMP, et al.,
                                 Respondents.


                   DECLARATION OF STEFANIE FISHER-PINKERT, ESQ.


          I, Stefanie Fisher-Pinkert, declare the following under pain and penalty of perjury:

          1.      I am an attorney licensed to practice law in the Commonwealth of Massachusetts.

I am also admitted to the Federal District Court for the District of Massachusetts, the Federal

District Court for the District of Nebraska, and the First Circuit Court of Appeals.

          2.      Since obtaining my license in November of 2009, I have specialized in immigration

law, and specifically in removal defense. I have been a member of the American Immigration

Lawyers Association (“AILA”) since January of 2010. As a member of AILA, I have served in

various volunteer positions, including as a member of the Federal Litigation Committee, as a

liaison to the Office of Chief Counsel of U.S. Immigration and Customs Enforcement (“ICE”),

and as a a liaison to U.S. Customs and Border Protection. I am currently Counsel in the law firm

Araujo & Fisher.

          3.      Throughout my legal career, I have represented detained individuals in New

England facing removal/deportation proceedings or otherwise slated for removal/deportation. The

statements in this declaration are based on my personal knowledge accumulated during my years

of immigration practice.




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       4.      My coworkers and I have represented women in civil immigration detention,

including women detained at the Strafford County facility in Dover, NH, and ICE’s Buffalo facility

in Batavia, NY.

       5.      In my experience, ICE Enforcement and Removal Operations regularly processes

individuals they detain in eastern Massachusetts at their Boston Field Office, located in Burlington,

Massachusetts. People arrested by ICE’s Homeland Security and Investigations (“HSI”) are

regularly booked and processed at HSI’s offices in Boston, Massachusetts.

       6.      In my experience, ICE regularly detains women at their faciliaties in New England,

including the Strafford County facility in New Hampshire, at the Wyatt Detention facility in Rhode

Island, and at the Cumberland County facility in Maine.

       7.      I have reviewed the Declaration of David T. Wesling. In my 16 years of practice,

I have not seen or even heard of an ICE detainee arrested in Massachusetts being booked and

repeatedly moved in the manner described in that declaration. I have never seen or even heard of

an ICE detainee arrested in Massachusetts being moved to Methuen, Massachusetts, then Lebanon,

New Hampshire, then St. Albans, Vermont, within a matter of hours. The conduct described in

Mr. Wesling’s declaration is, in short, highly irregular.



       Executed on April 2, 2025, in Boston, MA.



                                              ____________________
                                              Stefanie Fisher-Pinkert




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